        Case 2:21-mc-01230-JFC Document 558 Filed 05/16/22 Page 1 of 3




                    IN THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF PENNSYLVANIA

 IN RE: PHILIPS RECALLED CPAP, BI-              Master Docket: Misc. No. 21-1230
 LEVEL PAP, AND MECHANICAL
 VENTILATOR PRODUCTS LITIGATION                 MDL No. 3014

 This Document Relates to:
 All Actions


                                      JOINT NOTICE
       Pursuant to this Honorable Court’s Text Order of April 27, 2022, below please find a list

of counsel speaking on behalf of the Plaintiffs and Defendants for the May 19, 2022 Status

Conference.

Speaking on behalf of Plaintiffs:

Co-Lead Counsel:
Sandra Dugan (Levin, Sedran & Berman, LLP)
Kelly K. Iverson (Lynch Carpenter, LLP)
Steven A Schwartz (Chimicles, Schwartz, Kriner & Donaldson)
Christopher A. Seeger (Seeger Weiss LLP)

Co-Liaison:
D. Aaron Rihn (Robert Peirce & Associates)
Peter St. Tienne Wolff (Pietragallo, Gordon, Alfano, Bosick & Raspanti, LLP)

Other Participants:
Kristina Anderson (Hensley Legal Group, PC)
Elizabeth Pollock-Avery (Lynch Carpenter, LLP)
David Buchanan (Seeger Weiss, LLP)
Roberta Liebenberg (Fine, Kaplan and Black, R.P.C.)
Charles Shaffer (Levin, Sedran & Berman, LLP)
Joyce Chambers-Reihard (Kelley & Ferraro, LLP)
David Stellings (Lieff, Cabraser, Heimann & Bernstein)

Speaking on behalf of Philips, Defendant:
Lisa C. Dykstra (Morgan, Lewis & Bockius, LLP)
John P. Lavelle, Jr. (Morgan, Lewis & Bockius, LLP)
William Monahan (Morgan, Lewis & Bockius, LLP)
        Case 2:21-mc-01230-JFC Document 558 Filed 05/16/22 Page 2 of 3




Speaking on behalf of Burnett:
Frederick (Rick) William Bode, III (Dickie McCamey)

DATED: May 16, 2022                             Respectfully submitted,


                                                /s/ D. Aaron Rihn
                                                D. Aaron Rihn, Esquire
                                                PA Bar No.: 85752
                                                ROBERT PEIRCE & ASSOCIATES, PC
                                                707 Grant Street, Suite 125
                                                Pittsburgh, PA 15219
                                                Telephone: 412-281-7229
                                                Facsimile: 412-281-4229
                                                Email: arihn@peircelaw.com

                                                Co-Liaison Counsel




                                            2
         Case 2:21-mc-01230-JFC Document 558 Filed 05/16/22 Page 3 of 3




                               CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the foregoing document was filed via the

Court’s CM/ECF system on this 16th day of May 2022 and is available for download by all counsel

of record.



                                            /s/ D. Aaron Rihn
                                            D. Aaron Rihn, Esquire
                                            PA I.D. No.: 85752
                                            ROBERT PEIRCE & ASSOCIATES, P.C.
                                            707 Grant Street
                                            Suite 125
                                            Pittsburgh, PA 15219
                                            Tel: 412-281-7229
                                            Fax: 412-281-4229
                                            arihn@peircelaw.com




                                               3
